            Case 2:19-cv-00390-TOR                  ECF No. 30           filed 04/01/20    PageID.322 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_
                                                     Eastern District of Washington
ISAAC GORDON, individually and on behalf of all those
              similarly situated,
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:19-CV-0390-TOR
                                                                     )
                                                                     )
       ROBINHOOD FINANCIAL LLC, a Delaware
              limited liability company,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Defendant Robinhood Markets is awarded attonreys' fees in the amount of $7,965.00.
’




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                       Thomas O. Rice                                        on Defendant Robinhood Markets'
     Motion for Reconsideration and Fee Request and Substantiation. ECF Nos. 20 & 22.


Date: April 1, 2020                                                          CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Linda L. Hansen
                                                                                          (By) Deputy Clerk

                                                                             Linda L. Hansen
